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Case 2:05-cr-80879-AC-SDP__ECEF No. 8 _ filed 02/02/06

PagelD.47 Page 1 of 4

 

 

Judgment-Page | of 4

United States District Court
Eastern District of Michigan

United States of America
Vv.

ALI] MAKKI

THE DEFENDANT:

Sentencing Reform Aci of 1984

circunistances.

 

 

Pleaded guilty to count(s): 1 and 2 of First Superscding Indictment.

‘The defendant is adjudicated guilty of these offenses:

JUDGMENT IN A CRIMINAL CASE

Case Number: 03CR80617-2; 05CR80879-3
USM Number: 31737-039

foi fe
Clyde Pritchard HL te Ip)
Defendant's Attorney CEB ’ 6 006 | j

CLEARS OFFICE
U.S. DISTHICT COURT
EASTERN MICHIGAN

Title & Section Nature of Offense Offense Ended Count

18 USC 371 Conspiracy to Traffic in and Smuggle Counterfeit 12/2004 Iss
Goods

18 USC 1956(h) Conspiracy to Launder Monetary Instruments 12/2004 258

The defendant is sentenced as provided in pages 2 through 4 of this judgment. This sentence is imposed pursuant of the

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address unti! all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic

February 02,2006. .

Date of Imposition of Judgment

hate,

Aver Cohn
United States District Judge

FEB 10 2006

Date Signed

 

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DEFENDANT: ALI MAKKI
CASE NUMBER: 03CR80617-2

PROBATION
The defendant is hereby sentenced to probation for a term of 24 months on each count to be served concurrently.

The defendant shall not commit another federal, state or local crime.
If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful usc of a
controlled substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two
periodic drug tests thereafler, as determined by the court. Revocation of Probation is mandatory for possession of a controlled
substance.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with

the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional

conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or prohation officer,

2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquities by the probation officer and follow the instructions af the probation
officer;

4) the defendant shall supoort his or her dependents and meet other family responsibilities;

§) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
oT other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

§) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not assyciate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter intu any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's erminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement; and

14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
supervised releage is mandatory for possesston of a firearm.

 
 

 

 
    
 

 

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DEFENDANT: ALI MAKKI .
CASE NUMBER: 03CR&80617-2 ;

SPECIAL CONDITIONS OF SUPERVISION UNDER PROBATION

The defendant shal] participate in the home confinement program for a period of 6months. During this time the defendant

will remain at his/her place of residence except for employment and other activities approved by the probation officer.

The defendant will maintain a telephone at his/her place of residence without "call forwarding,” a modem, "Caller LD," “call waiting,"
cordless telephones for the above period. At the direction of the probation officer, the defendant shall wear an electronic

monitoring device and follow electronic monitoring procedures as specified by the probation offier. The defendant shall pay the
costs of electronic monitoring.

The defendant shall make monthly installment payments on any remaining balance of the restitution at a rate and schedule
recommended by the Probation Department and approved by the Court.

The defendant shall not incur any new credit charges or open additional lincs of credit without the approval of the probatian
officer.

The defendant shall provide the probation officer access to any requested financial information.
If the defendant is in compliance with the conditions of probation and makes confirmed arrangments to travel to Sierra

Leone, Africa, the term of probation may be modified, terminated or reduced to non-reporting at the discretion of the
Probation Officer.
 

 
 
   
  

 

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DEFENDANT. ALI MAKKEI
CASE NUMBER: 03CR80617-2

CRIMINAL MONETARY PENALTIES

Assessment Fine Restitution
TOTALS; §$ 300.00 $0.00 $ 10190.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
atherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Priority or
Ordered Percentage

Bollore, SA 0.00 10190.00

TOTALS: $0.00 $ 10190.00

* Findings for the total amount of losses are required under Chaplers 109A, 110, 110A, and IISA of Title 18 for offenses committed an or
after September 13, 1994, but before Apri! 23, 1996.

 

 
